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 1                                                          Judge Lasnik
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 5
                               UNITED STATES DISTRICT COURT FOR THE
 6
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE
 8
 9    UNITED STATES OF AMERICA,                            NO. CR14-042RSL
10                              Plaintiff,
                                                           ORDER CONTINUING TRIAL DATE
11
12                        v.
13    JONATHAN BOOTHE and
      STEPHANIE BAUBLITS,
14
                   Defendants.
15
16
             THE COURT has considered the stipulated motion filed by the parties requesting
17
     a continuance of the trial date (Dkt. # 65) and Defendants’ knowing and voluntary
18
     waivers (Dkt. # 61, Dkt. # 64).
19
             In light of the circumstances that are presented in the motion, THE COURT finds
20
     that a failure to grant a continuance would deny counsel the reasonable time necessary for
21
     effective preparation, taking into account the exercise of due diligence, within the
22
     meaning of 18 U.S.C. § 3161(h)(7)(B)(iv). THE COURT also finds that the failure to
23
     grant a continuance of the trial date would result in a miscarriage of justice, 18 U.S.C.
24
     § 3161(h)(7)(B)(i). THE COURT also finds that this case is sufficiently complex that it
25
     is unreasonable to expect adequate preparation for pretrial proceedings or for the trial
26
     itself within the time limits established by this section, 18 U.S.C. § 3161(h)(7)(B)(ii).
27
     THE COURT also finds that the ends of justice will be served by ordering a continuance
28
     Order Continuing Trial Date - 1                                           UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
     U.S. v. Boothe, et. al., CR14-042RSL                                       SEATTLE, WASHINGTON 98101
                                                                                      (206) 553-7970
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 1 in this case, that a continuance is necessary to ensure adequate time for effective case
 2 preparation, and that these factors outweigh the best interests of the public and the
 3 Defendants in a speedy trial.
 4           IT IS THEREFORE ORDERED that the trial date shall be continued from
 5 September 25, 2014, to January 12, 2015. The period of time from the date of this Order
 6 until the new trial date of January 12, 2015, shall be excludable time pursuant to the
 7 Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A).
 8           Pretrial motions are due November 3, 2014, and the government shall have until
 9 November 17, 2014 to respond to any motions.
10           DONE this 10th day of July, 2014.
11
12
13
14                                                   A
                                                     Robert S. Lasnik
15                                                   United States District Judge
16
17 Presented by:
18
19 /s/ Thomas M. Woods
   Thomas M. Woods
20 Assistant United States Attorney
21
   /s/ Michele Shaw
22 Michele Shaw
23 Attorney for Jonathan Boothe
24 /s/ Lee Edmond
25 Lee Edmond
   Attorney for Stephanie Baublits
26
27
28
     Order Continuing Trial Date - 2                                        UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     U.S. v. Boothe, et. al., CR14-042RSL                                    SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
